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13
                                  UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                         SAN FRANCISCO DIVISION
16
17    ZHEA ZHEA ZARECOR AS PERSONAL                Case No. 3:23-cv-05385-JSC
      REPRESENTATIVE OF ZHEA ZARECOR
18    SALAZAR, individually and on behalf of all   THIRD STIPULATION TO EXTEND TIME
      others similarly situated,                   TO RESPOND TO COMPLAINT (L.R. 6-1)
19
20                          Plaintiff,             Complaint Filed: October 20, 2023
                                                   Complaint Served: November 29, 2023
21    v.                                           Current Response Date: February 19, 2024
                                                   New Response Date: March 4, 2024
22
      DISCORD INC.,
23
                            Defendant.
                                                   CLASS ACTION
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                      THIRD STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
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 1          Plaintiff Zhea Zhea Zarecor as Personal Representative of Zhea Zarecor Salazar (“Plaintiff

 2   Zarecor”) and Defendant Discord Inc. (“Discord”), pursuant to Local Rule 6-1, hereby stipulate to the

 3   following extension of time for Discord to respond to the Complaint:

 4          WHEREAS, on October 20, 2023, Plaintiff Zarecor filed her Complaint alleging, on behalf of

 5   herself as personal representative of Zhea Zarecor Salazar and a proposed nationwide class, violations

 6   of California’s Unfair Competition Law (Cal. Bus. & Prof. Code § 17200, et seq.), violations of

 7   California’s Consumer Legal Remedies Act (“CLRA”) (Cal. Civ. Code § 1750, et seq.), violations of

 8   California Business and Professional Code §§ 17500, et seq., violations of Texas’ Deceptive Trade

 9   Practices-Consumer Protection Act (“DTPA”), and unjust enrichment by Discord;

10          WHEREAS, on November 29, 2023, Plaintiff Zarecor served her Complaint on Discord;

11          WHEREAS, pursuant to Rule 12(a)(1) of the Federal Rules of Civil Procedure, Discord’s

12   response to the Complaint was due on December 20, 2023;

13          WHEREAS, Discord conferred with Plaintiff’s counsel and requested that Plaintiff agree to

14   extend the time for Discord to respond to the Complaint to January 19, 2024 (a 30-day extension);

15          WHEREAS, Plaintiff agreed to Discord’s request to extend the time for Discord to respond to

16   the Complaint to January 19, 2024;

17          WHEREAS, on December 19, 2023, Discord filed a joint stipulation to extend the time for it

18   to respond to the Complaint to January 19, 2024 (Dkt. No. 9);

19          WHEREAS, Discord conferred with Plaintiff’s counsel and requested that Plaintiff agree to

20   extend the time for Discord to respond to the Complaint to February 19, 2024 (a 31-day extension);

21          WHEREAS, Plaintiff agreed to Discord’s request to extend the time for Discord to respond to

22   the Complaint to February 19, 2024;

23          WHEREAS, on January 17, 2023, Discord filed a second joint stipulation to extend the time

24   for it to respond to the Complaint to February 19, 2024 (Dkt. No. 20);

25          WHEREAS, the parties are engaged in discussions regarding the possibility of an early

26   resolution of this matter, and Discord has conferred with Plaintiff’s counsel and requested that Plaintiff

27   agree to extend the time for Discord to respond to the Complaint to March 4, 2024 (a 14-day extension)

28   in order to facilitate such preliminary discussions;

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 1          WHEREAS, Plaintiff agreed to Discord’s request to extend the time for Discord to respond to

 2   the Complaint to March 4, 2024;

 3          WHEREAS the requested extension will not affect any dates set by the court; and

 4          WHEREAS, this is the third stipulation by the parties for an extension of time for Discord to

 5   respond to the Complaint.

 6          IT IS HEREBY STIPULATED by and between the parties that Discord’s date to respond to

 7   the Complaint, by answer, motion, or otherwise, is extended to and including March 4, 2024.

 8
 9
     Dated: February 20, 2024                      KALIELGOLD PLLC
10
11                                                 By:/s/ Sophia G. Gold
12                                                    JEFFREY D. KALIEL
                                                      SOPHIA G. GOLD
13                                                    SCOTT EDELSBERG

14                                                     Attorneys for Plaintiff

15
16   Dated: February 20, 2024                      KING & SPALDING LLP

17
                                                   By: /s/ Quyen L. Ta
18                                                    QUYEN L. TA
19                                                    ALVIN LEE

20                                                     Attorneys for Defendant
                                                       DISCORD INC.
21
22
                                           L.R. 5-1 ATTESTATION
23
            I, Quyen L. Ta, attest that all signatories listed herein, and on whose behalf this filing is
24
     submitted, concur in this filing’s content and have authorized this filing.
25
26                                                 By:     /s/Quyen L. Ta
                                                           QUYEN L. TA
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                      THIRD STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
